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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                Galveston Division
______________________________________
                                       )
TEXAS DEPARTMENT OF CRIMINAL           )
JUSTICE,                               )
                                       )
                  Plaintiff,           )
                                       )
            v.                         )    Case No. 3:17-cv-00001
                                       )
UNITED STATES FOOD AND DRUG            )
ADMINISTRATION, et al.,                )
                                       )
                  Defendants.          )
                                       )


  DEFENDANTS’ UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

       Pursuant to Rule 7 of the Court’s local rules, defendants, the United States Food and

Drug Administration, et al., respectfully request that the Court continue for 90 days the status

conference that the Court has set for September 13, 2018, and keep the case stayed in the

meantime. See Order, June 15, 2018, ECF No. 62. The Texas Department of Criminal Justice

(Texas) does not oppose this motion.

       This case is currently stayed and administratively closed. See Order, Dec. 4, 2017, ECF

52. The Court has previously scheduled a hearing on Texas’s motion to lift the stay and set a

briefing schedule (ECF 53); in the June 15, 2018 Order, the Court continued that hearing until

September 13, 2018 at our request. In our prior continuance request, we explained that the

federal government has been exploring options internally for resolving this lawsuit in a way that

would obviate the need for the Court to issue a decision. Those internal deliberations are still

ongoing, but the government believes it is significantly closer to a solution that could allow this

case to be resolved without additional litigation. Though we recognize that repeated
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continuances are disfavored by this Court, we believe that granting another continuance and

permitting those deliberations to continue is necessary to avoid a wasteful expenditure of judicial

resources.

       For this reason, we respectfully request that the Court keep the existing stay in place and

continue the September 13, 2018, status conference by 90 days.



                                                      Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      JAMES M. BURNHAM
                                                      Deputy Assistant Attorney General

                                                      GUSTAV EYLER
                                                      Acting Director

                                                      ANDREW E. CLARK
                                                      Assistant Director

                                                      s/ Alexander V. Sverdlov   _
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September 7, 2018                                     Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on this 7th day of September, 2018, a copy

of the foregoing “DEFENDANTS’ UNOPPOSED MOTION TO CONTINUE STATUS

CONFERENCE” was filed electronically. This filing was served electronically to all parties by

operation of the Court’s electronic filing system.



                                   s/ Alexander V. Sverdlov
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   Galveston Division
______________________________________
                                      )
TEXAS DEPARTMENT OF CRIMINAL          )
JUSTICE,                              )
                                      )
                  Plaintiff,          )
                                      )
            v.                        )               Case No. 3:17-cv-00001
                                      )
UNITED STATES FOOD AND DRUG           )
ADMINISTRATION, et al.,               )
                                      )
                  Defendants.         )
                                      )


                                    [PROPOSED] ORDER

       Upon consideration of the defendants’ unopposed motion to continue the status

conference, and upon due deliberation, it is hereby

       ORDERED that the motion is granted; and it is further

       ORDERED that a status conference in this case is set for __________________, 2018.

       SO ORDERED.




DATED: _______________                                _________________________________
                                                      HON. GEORGE C. HANKS, JR.
                                                      United States District Judge
